        Case 1:20-cr-02014-SAB     ECF No. 217   filed 10/05/21   PageID.893 Page 1 of 2



 1                                                                             FILED IN THE
                                                                           U.S. DISTRICT COURT
 2                                                                   EASTERN DISTRICT OF WASHINGTON



 3                                                                    Oct 05, 2021
 4                                                                        SEAN F. MCAVOY, CLERK




 5                         UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,
 9                               Plaintiff,         No. 1:20-CR-2014-SAB-3
10          v.
11 JAVIER MENDOZA,                                  ORDER DENYING MOTION
12                               Defendant.         FOR RECONSIDERATION
13
14          Before the Court is Defendant’s Motion for Reconsideration, ECF No. 210,
15 and associated Motion to Expedite, ECF No. 211. Oral argument was held on
16 October 4, 2021 in Yakima, Washington. Benjamin Seal appeared on behalf of the
17 United States of America. Mike Lynch appeared on behalf of Defendant, who was
18 present in the courtroom and in custody.
19          Having considered oral argument and the entire record, the Court declines to
20 reconsider its order that Defendant shall remain in custody pending sentencing.
21 The Court finds that any issues regarding drug and alcohol treatment may be
22 addressed as a matter of sentencing on November 17, 2021.
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24 //
25 //
26 //
27 //
28 //

     ORDER DENYING MOTION FOR RECONSIDERATION * 1
      Case 1:20-cr-02014-SAB   ECF No. 217   filed 10/05/21   PageID.894 Page 2 of 2



 1        Accordingly, IT IS HEREBY ORDERED:
 2        1.    Defendant’s Motion to Expedite, ECF No. 211, is GRANTED.
 3        2.    Defendant’s Motion for Reconsideration, ECF No. 210, is DENIED.
 4        IT IS SO ORDERED. The District Court Executive is directed to file this
 5 Order and provide copies to counsel AND the United States Probation Office.
 6        DATED this 5th day of October 2021.
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11                                              Stanley A. Bastian
12                                     Chief United States District Judge
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     ORDER DENYING MOTION FOR RECONSIDERATION * 2
